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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO




UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                            Cr. No. 22-889 JCH

KADEEM SHAQUILE OSORIO,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

       This case is before the Court on Defendant Kadeem S. Osorio’s Motion to Reconsider

Order Denying Defendant’s Motion to Suppress [Doc. 73]. In the motion, the Defendant asks the

Court to reconsider certain conclusions of fact and law set forth in its Memorandum Opinion and

Order [Doc. 69] on his motion to suppress evidence. The United States has filed a response [Doc.

78], and Defendant has filed his reply [Doc. 80]. After again reviewing the evidence presented at

the hearing, as well as the arguments of the parties on the motion to reconsider, the Court concludes

that it did not err and the motion should be denied.

                                      LEGAL STANDARD

       Motions to reconsider are proper in criminal cases even though the Federal Rules of

Criminal Procedure do not specifically provide for them. United States v. Randall, 666 F.3d 1238,

1241-42 (10th Cir. 2011); United States v. Christy, 739 F.3d 534, 539 (10th Cir. 2014). A district

court should have the opportunity to correct alleged errors in its dispositions. See United States v.

Dieter, 429 U.S. 6, 8 (1976).
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        A motion to reconsider may be granted when the court has misapprehended the facts, a

party’s position, or the law. Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000).

Specific grounds include: “(1) an intervening change in the controlling law, (2) new evidence

previously unavailable, and (3) the need to correct clear error or prevent manifest injustice.” Id. A

motion to reconsider should not be used to revisit issues already addressed or advance arguments

that could have been raised earlier. Id.

                                           DISCUSSION

        Mr. Osorio does not assert that there has been an intervening change in the law or that new

evidence has come to light. Rather, he contends that the Court should reconsider its ruling to

correct clear error and prevent manifest injustice. To this end, he makes three principal arguments:

that the encounter between Mr. Osorio and Agent Perry was not consensual, that Perry coerced

Mr. Osorio into allowing him to look in his bag, and that the inevitable discovery doctrine does

not apply in this case.

   I.      The Encounter on the Bus Was Consensual

        Mr. Osorio’s first argument is that the Court erred when it found that the encounter on the

bus between Mr. Osorio and Agent Perry was consensual. Mr. Osorio asserts that Agent Perry

stood facing him in the middle of the bus aisle, effectively blocking his egress. As grounds for this

conclusion, Mr. Osorio argues that the Court should have credited the testimony of bus passenger

Michael Martin and Mr. Osorio himself over that of Agent Perry on this point. However, as the

Court explained in its Memorandum Opinion and Order, it did not find Mr. Martin’s testimony to

be credible or reliable due to various inconsistencies between his testimony and other evidence in

the case. Doc. 69 at 1 n.1. Mr. Osorio also asserts that the Court did not consider his testimony.

That is not the case, however. The Court did carefully consider Mr. Osorio’s testimony in its
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entirety, including on this issue. However, the Court ultimately found Agent Perry’s testimony to

be more credible and concluded that, consistent with his standard practice, Perry was standing in

the aisle just behind Mr. Osorio such that he was not blocking Mr. Osorio’s egress from the bus.

In addition, the Court was not persuaded by Mr. Osorio’s argument that the width of the aisle likely

would have forced Perry to stand facing Mr. Osorio. The Court’s will not reconsider these findings

of fact.

           Next, Mr. Osorio argues that the presence of two officers on the bus and the fact that Perry

did not inform Mr. Osorio of his right to terminate the encounter weigh in favor of finding a

seizure. In its prior opinion, this Court examined the totality of the circumstances surrounding the

encounter, including all of the factors enumerated by the Tenth Circuit in United States v. Lopez,

443 F.3d 1280, 1284 (10th Cir. 2006) (quoting United States v. Spence, 397 F.3d 1280, 1283 (10th

Cir. 2005)). Specific to Mr. Osorio’s argument in favor of reconsideration, the Court found that

“[a]lthough there were two officers present, Zamarron was out of the way at the front of the bus

and did not engage with Mr. Osorio, so he did not even notice Zamarron until after Perry asked

Mr. Osorio which bags belonged to him. Therefore, Zamarron’s presence could not have

reasonably affected whether Mr. Osorio felt free to terminate the encounter or decline to speak

with Perry.” Doc. 69 at 9. Having reviewed the evidence again, the Court stands by these factual

findings in light of its assessment of the credibility of the witnesses.

           Mr. Osorio argues that the timing of his observation of the second officer is not

determinative because Zamarron “was present, nonetheless.” Doc. 73 at 5. However, Mr. Osorio’s

reliance on United States v. Gaines, 918 F.3d 793, 796-97 (10th Cir. 2019) does not assist his

argument. In Gaines, the court found the defendant had been seized when two uniformed officers

approached him simultaneously in two separate police cars with lights flashing. The officers
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gestured for defendant to get out of his car, told him that they had received a report that he was

selling drugs, and circled defendant’s car while looking inside. Id. Not only were the circumstances

in Gaines drastically different, but the case does not stand for the proposition for which Mr. Osorio

cites it—that is, that it does not matter when the suspect notices the presence of a second officer.

The Gaines court did not address that issue at all. Therefore, the presence of two officers on the

bus does not weigh in favor of finding a seizure when Mr. Osorio was not aware of the presence

of the second officer.

        That leaves only Mr. Osorio’s final argument, which is that Perry failed to inform him that

he had the right to terminate the encounter. In its prior ruling, the Court acknowledged that Perry

had not done so, but that “this is the sole Lopez factor that weighs in favor of finding that the

encounter was not consensual.” Doc. 69 at 10. In light of Lopez’s statement that “the strong

presence of two or three factors may be sufficient” to support the conclusion that a defendant was

seized, Lopez, 443 F.3d at 1284-85 (internal citations and quotations omitted) (emphasis added),

the presence of this single factor is not sufficient. 1

        The Court did not commit clear error in concluding that the encounter was consensual.




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  In his reply brief [Doc. 80], Mr. Osorio contends that the Court should find the encounter was
not consensual because Mr. Osorio did not express unequivocal and specific consent to speak
with Agent Perry. He contends that a mumbled response combined with nodding his head up and
down does not constitute unequivocal and specific consent. Because Mr. Osorio did not make
this argument in his opening brief and therefore the United States did not have the opportunity to
respond, the Court deems it waived. United States v. Harrell, 642 F.3d 907, 918 (10th Cir. 2011)
(“[A]rguments raised for the first time in a reply brief are generally deemed waived.”).


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   II.      Mr. Osorio Voluntarily Consented to Permit Perry to
            View the Contents of His Bag

            A. Agent Perry Did Not Coerce Mr. Osorio

   Based on the evidence and testimony presented at the hearing, the Court found that Agent

Perry and Mr. Osorio had the following exchange:

         Perry then said, “Would you voluntarily consent for a search of your bags you have
         for contraband, sir?” Osorio asked, “You say would I voluntarily?” Perry
         confirmed, “Yes, sir.” And then Osorio declined, saying, “No, sir.” At this point in
         the encounter, Osorio had refused to grant Perry consent to search his luggage.

         Perry then followed up: “Okay. Would you be able to open it up and show me the
         contents of it?” Osorio responded, “Contents?” Perry then said, “Yes, sir,” and after
         a short pause said, “Thank you, sir.” The recording contains no audible response
         from Osorio, who stood up in the aisle, retrieved the Nike shopping bag, placed it
         on his seat, and removed one of two shoe boxes inside. At this point in the
         recording, one can hear the sound of paper crinkling, as though someone is moving
         or opening the paper Nike shopping bag. Perry could see the two shoe boxes inside.
         Osorio opened one shoe box to reveal a pair of shoes. Then Perry asked, “Get you
         some new shoes?” and Osorio responded, “Yes, sir.” Perry observed, “Those are
         expensive shoes, aren’t they?” Osorio responded, “Air Jordans.” Osorio replaced
         the lid on the shoe box, put it back in the Nike shopping bag, and returned it to the
         overhead luggage compartment.

Doc. 69 at 5 (internal citations omitted). Based on this evidence, the Court concluded that Mr.

Osorio’s actions constituted conduct that a reasonable officer would understand to be unequivocal

and specific consent to look at what was inside the luggage. Then, in accordance with Schneckloth

v. Bustamonte, 412 U.S. 218, 227 (1973), the Court examined the totality of the circumstances

surrounding the search, guided by the factors set forth by the Tenth Circuit in United States v.

Sawyer, 441 F.3d 890, 895 (10th Cir. 2006), and concluded that that Mr. Osorio had given valid,

non-verbal consent to Agent Perry to look inside his shopping bag.




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         Now, for the first time in his motion to reconsider, Mr. Osorio argues that in deciding

whether Mr. Osorio voluntarily opened his bag and allowed Agent Perry to peer inside, the Court

should have considered “that Mr. Osorio has a poor education, he struggled in school in special

education classes and essentially has difficulty comprehending.” Doc. 73 at 7. Mr. Osorio did not

make this argument in his briefs on the motion to suppress [Docs. 37 and 48], nor did he move to

supplement his briefs with this argument at any point before the Court entered its Memorandum

Opinion and Order denying his motion to suppress. Therefore, Mr. Osorio waived the argument,

and the Court need not consider it. Further, even if the Court were to overlook the waiver, it still

would be unpersuasive. Mr. Osorio did testify in passing at the hearing that he was in special

education classes in school. However, he did not testify (and his counsel did not argue) that he

lacked the mental capacity to voluntarily consent to allow Perry to look inside his bag. Further,

after watching Mr. Osorio’s testimony, the Court was left with the definite impression that he was

able to understand what was happening during his interaction with Agent Perry as well as what

was happening in the courtroom that day. With regard to his response (set forth above) to Agent

Perry when he asked Mr. Osorio if he would voluntarily consent to a search, Mr. Osorio stated,

“[W]hen I heard the word ‘voluntarily,’ I immediately thought of somebody raising their hand. I

didn’t voluntarily want to do something, and I said, ‘No.’” Transcript at 266. This demonstrates

two things. First, it shows that Mr. Osorio understood the meaning of the word “voluntarily.”

Second, it shows that he had the ability and understanding to say no to something he did not want

to do.

         Next, Mr. Osorio renews his argument that Agent Perry deceived him by not informing

Mr. Osorio that he was checking the bus for drugs. The Court addressed this argument in its prior

ruling, see Doc. 69 at 13-14, and concluded that Agent Perry did not deceive Mr. Osorio. In his
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motion to reconsider, Mr. Osorio puts forth neither new law from the Tenth Circuit or Supreme

Court nor new evidence that would persuade the Court that it erred. Agent Perry did not engage in

deception. He informed Mr. Osorio that he was a member of law enforcement, that he was

checking the bus, and that he was looking for weapons or illegal items. Agent Perry then asked for

permission to search for contraband, which would include illegal drugs. See United States v.

Easley, 911 F.3d 1074, 1081 (rejecting the argument that a reasonable person would not have felt

free to refuse to cooperate because of Agent Perry’s characterization of his motives for being

onboard the bus when he informed asked the passenger if he could search her bags for

“contraband”). The court finds no error here.

       Mr. Osorio briefly argues that the presence of two officers on the cramped bus was a “show

of authority” that made Agent Perry’s request to look inside Mr. Osorio’s bag coercive. Doc. 73

at 7. He notes that he became aware of Officer Zamarron’s presence shortly before he opened his

bags for Agent Perry. Id. While he did testify to that, Transcript of Suppression Hearing (“Tr”). at

246, Mr. Osorio never testified that he found Agent Zamarron intimidating or that his presence

contributed in any way to his decision to let Agent Perry look inside his bags. Mr. Osorio did

testify that Agent Zamarron did not interact with or approach him until after Agent Perry placed

him under arrest, at which point Zamarron brought him to the front of the bus. Tr. at 275-76. Again,

Mr. Osorio points to no new evidence, or evidence overlooked by the Court, that would change its

analysis. Mr. Osorio’s reliance on an older Ninth Circuit case, United States v. Stephens, 206 F.3d

914, 917-18 (9th Cir. 2000) is also unpersuasive for several reasons. First, it is not binding on this

Court. Second, Mr. Osorio could have cited Stephens in his original briefing but did not, and he

may not raise new arguments for the first time in a motion to reconsider. But most importantly,

Stephens is distinguishable on its facts. In that case, there were not two, but three, agents on the
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bus while even more agents waited outside, a far cry from the two agents present in this case. In

addition, the officers in Stephens used the bus’s public address system to speak to passengers,

which added to the officers’ show of authority. That important fact is absent here.

       Finally, Mr. Osorio also recycles the argument that he was coerced because Agent Perry

did not advise him of his right to refuse consent. The Court considered and rejected this argument

in its prior ruling, relying on Ohio v. Robinette, 519 U.S. 33, 39-40 (1996) and United States v.

Zubia-Melendez, 263 F.3d 1155, 1163 (10th Cir. 2001). Mr. Osorio offers neither argument nor

citation to authority that would suggest anything improper about the Court’s reasoning or reliance

on those cases.

           B. Mr. Osorio Gave Unequivocal and Clear Consent

       As the Court explained it its prior ruling, it construed Mr. Osorio’s actions—standing up,

retrieving the Nike shopping bag, opening up the shoe box inside, and then doing something

similar with the camouflage duffel bag—as conduct that a reasonable officer would understand to

be unequivocal and specific non-verbal consent to look inside those bags. Doc. 69 at 12. However,

just as he did in the original motion to suppress, Mr. Osorio argues that he merely acquiesced to

the lawful authority displayed by Agent Perry and that he did not give clear and unequivocal

consent for Perry to look inside his bags. Factually, Mr. Osorio’s argument turns on two things:

(1) that after Mr. Osorio refused to consent to allow Agent Perry to search his bags, Agent Perry

asked to perform a more limited search in which Mr. Osorio would open the bags and Agent Perry

would look inside, and (2) Mr. Osorio protested by exhaling and sighing when Agent Perry made

his second request. Doc. 73 at 9.

       Turning to the first argument, the Court notes that it addressed this issue in its prior

Memorandum Opinion and Order. Citing United States v. Zubia-Melendez, 263 F.3d 1155, 1163
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(10th Cir. 2001), the Court noted that an officer is not required to refrain from renewing a request

for consent after a defendant has first denied it. Doc. 69 at 13. That is particularly true where, as

here, the second request is narrower in scope. Mr. Osorio has not demonstrated that the Court erred

in relying on Zubia-Melendez. As to Mr. Osorio’s second factual argument, the Court did not hear

any sighs or loud exhaling on the audio recording of the encounter, and it did not find that Mr.

Osorio did those things. Mr. Osorio does not point to any time stamp on the recording where his

sighs or exhales can be heard. Therefore, the Court is not persuaded that it erred in its determination

that Mr. Osorio consent was not equivocal.

       Mr. Osorio argues that this case is like United State v. Castro-Gallegos, Cr. No. 15-2226

JCH, 2016 WL 10592166 (D.N.M. Jan. 29, 2016) (unpublished), in which the undersigned found

that the defendant did not give Agent Perry clear and unequivocal consent to search her luggage

on a bus. However, that case is distinguishable because the context differed significantly. In

Castro-Gallegos, Agent Perry twice asked the defendant for consent to allow him to search her

bag. The first time Agent Perry asked her for permission to search, “[w]ith uncertainty in her voice,

[defendant responded], ‘Um, okay, it’s only my underwear.’” Id. at *2. This was not unequivocal

consent to search, as demonstrated by the exchange that followed when Agent Perry asked for

permission to move the defendant’s bag to a seat across the aisle. The defendant did not respond

but instead stood up and moved the bag to the seat she had been sitting on, not the seat across the

aisle. Id. She then opened the bag so Agent Perry could see inside, and she shifted the contents

around; however, she did not let him perform his own search. Therefore, the defendant twice

denied Agent Perry access to her bag perform his own search. Id. Agent Perry then made a third

request: “Okay, I see you moving stuff, would you give me permission to do a search, ma’am?”

Id. Once again, the defendant did not agree, responding, “Uh, it’s my underclothes and . . .” After
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some discussion, defendant removed her underwear from the bag and hid it under a blanket. Id.

Then defendant gestured toward her bag with her arm outstretched, which Agent Perry interpreted

as nonverbal permission for him to search it himself. Id. He did so, performing a search by putting

his hands inside the bag, where he was able to feel several concealed, hard bundles. Id. The Court

suppressed the evidence, concluding that the defendant had not granted Agent Perry unequivocal

and specific consent to perform a manual search of her bag. Id. at *5. First, Defendant had declined

to grant such consent twice before, but rather had merely opened the bag and allowed him to see

inside while she shifted the contents. Id. Second, she did not verbally tell him he could perform a

manual search. Third, in light of her previous interaction with Agent Perry, defendant’s non-verbal

gesture toward her bag was ambiguous. Id. Given the context of the pair’s interaction up to that

point, a reasonable officer could not assume that defendant’s outflung arm was anything more than

permission for him to peer inside the bag again.

          In this case, the interaction between Agent Perry and Mr. Osorio was much more

straightforward. Agent Perry asked for permission to search Mr. Osorio’s bags, and Mr. Osorio

refused. Then Agent Perry made a more limited request—he asked if Mr. Osorio was willing to

show him the contents of his bags—and in response Mr. Osorio stood up and did just that. This

action—unlike the outstretched arm in Castro-Gallegos—was clear, unequivocal, and specific.

III.      Agents Performed a Permissible Inventory Search

          In his motion to reconsider, Mr. Osorio does not dispute the Court’s finding that Agent

Perry had probable cause to arrest him. However, Mr. Osorio does argue that the Court erred in

holding that the United States performed a permissible inventory search of his belongings after his

arrest. First, Mr. Osorio contends that applying the inevitable discovery doctrine requires particular

care, and the doctrine does not pertain to this case because the agents merely suspected, but did
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not know, that he had drugs in his duffel bag, and therefore the contents of Mr. Osorio’s bags was

not a foregone conclusion. Doc. 73 at 12, 13. Second, he argues that the inventory search was but

a ruse for an investigative search. Id. at 14. Neither argument is persuasive.

       The Court explained its reasoning in its prior opinion by setting forth the law on inevitable

discovery and inventory searches. Mr. Osorio does not point to any errors or inaccuracies in the

Court’s discussion of the law. He also does not dispute that inventory searches must be analyzed

under a two-pronged test: first, whether they are conducted according to standardized procedures,

and second, whether the policy or practice governing inventory searches is designed to produce an

inventory. As the Court previously noted, the Government met its burden on both prongs of this

test. The Government showed that the DEA does have a policy requiring a complete inventory “of

all property that is taken into custody by DEA for safekeeping, regardless of whether probable

cause exists to search the property . . . to protect DEA personnel from claims of theft or loss of

property …” Gov’t Ex. 5. The policy further requires that items be listed on forms DEA-6 and

DEA-12. The evidence shows that when they arrived at the DEA office with Mr. Osorio and his

luggage, government agents conducted an inventory search of his possessions. Tr. at 39, 42-46.

The evidence also shows that law enforcement acted in accordance with the inventory policy,

listing contraband items taken into custody on the DEA-6, see Govt. Ex. 6 (“Report of

Investigation”) at 2-4, and all other items on form DEA-12, see Govt. Ex. 7 (“Receipt for Cash or

Other Items”).

       Mr. Osorio argues that the inventory search of his belongings was merely a ruse for a

warrantless investigative search. Doc. 73 at 14. However, he points to no evidence to support that

assertion. Rather, he states in conclusory fashion that “because agents needed to search the bag to

confirm its contents were contraband, the search thereof was done to confirm the identity of the
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items in the bag and not to produce an inventory.” Id. Mr. Osorio does not address the fact that

DEA policy required the agents to perform an inventory search of his belongings. Accordingly,

the Court did not err in finding that this was a proper inventory search under the inevitable

discovery doctrine.

       Finally, Mr. Osorio appears to confuse the inevitable discovery doctrine (of which

inventory searches are a subset) with the plain-view doctrine, which allows a law-enforcement

officer to seize evidence of a crime without a warrant if “(1) the officer was lawfully in a position

from which the object seized was in plain view, (2) the object’s incriminating character was

immediately apparent, … and (3) the officer had a lawful right of access to the object.” United

States v. Angelos, 433 F.3d 738, 747 (10th Cir. 2006) (quoting United States v. Thomas, 372 F.3d

1173, 1178 (10th Cir. 2004)). Although the plain-view exception “may support the warrantless

seizure of a container believed to contain contraband,” it does not automatically support a

“subsequent search of the concealed contents of the container.” United States v. Corral, 970 F.2d

719, 725 (10th Cir. 1992) (emphasis in original). Rather, a subsequent search is only valid if “the

contents of a seized container are a foregone conclusion” or if the search is “accompanied by a

warrant or justified by one of the exceptions to the warrant requirement.” Id. Mr. Osorio argues

that the inventory search in this case was improper because it was not a foregone conclusion that

the packages that Agent Perry saw in Mr. Osorio’s duffel bag contained drugs. Doc. 73 at 13.

However, Mr. Osorio does not cite a single case to support his argument that law enforcement

cannot perform an inventory search unless it is a foregone conclusion that the property to be

searched contains contraband. Rather, that is a requirement that applies to the plain-view doctrine.

As a result, the Court rejects Mr. Osorio’s argument. Furthermore, having declined in its previous



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opinion to reach the question of whether the plain view exception applies, the Court declines to

address it here as well.

       IT IS THEREFORE ORDERED that Defendant Kadeem S. Osorio’s Motion to

Reconsider Order Denying Defendant’s Motion to Suppress [Doc. 73] is DENIED.




                                            ___________________________________
                                            UNITED STATES DISTRICT JUDGE




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